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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


    AS CORP, INC., et.al.,

                          Plaintiffs,

            v.                                             Case No. 2020-cv-6233

    MGR EXPRESS INC., et.al.

                          Defendants.


      MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT WITH
          PREJUDICE PURSUANT TO FED R CIV. PROC. 12(b)(5) and 41(b)

           The Subject Defendants 1 by and through their attorneys and pursuant to Federal Rules of

Civil Procedure 12(b)(5) and 41(b), hereby move this Honorable Court for an Order dismissing

Plaintiffs’ Second Amended Complaint with prejudice due to Plaintiffs’ disregard for this Court’s

Order and failure to serve any defendants in this matter with a summons and a copy of the

complaint:

      I.         Background

           Plaintiffs commenced this action by filing a Complaint on October 20, 2020 against the

Subject Defendants and a multitude of others, with an Amended Complaint (purporting to correct

a scrivener’s error) filed the same day. (Dkt. 1.) Plaintiffs had 90 days from the date of the


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    MGR FREIGHT SYSTEM INC.             RD LOGISTICS INC.           MGR EXPEDITED LLC
    RD EXPEDITED INC.                   MGR LEASE LLC               MGR TRUCK SALE INC.
    MGR TRUCK REPAIR INC.               MGR AUTO LEASE LLC          PLAINFIELD 014 LLC
    MGR TRUCK RENTAL LLC                MGR FINANCE LLC             MGR MANAGEMENT 015 LLC
    MGR FREIGHT LLC                     MGR 017, LLC                MGR 016, LLC
    MGR HOLDING LLC                     MGR EXPEDITED 1 LLC         NAPLES 013 LLC
    MGR EXPRESS 1 LLC                   MGR IL PROPERTIES LLC       MGR IL PROPERTIES 2 LLC
    RD EXPRESS LLC                      MGR TRANSPORTATION LLC      MGR EXPRESS LLC
    RADOMIR DOBRASINOVIC


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complaint’s filing to serve the Subject Defendants with summonses and copy of the complaint.

Fed. R. Civ. P. 4(m). The ninetieth day was January 18, 2021 – that date came and went with no

attempt by Plaintiffs to serve the Subject Defendants with process.

         On February 12, 2021, Subject Defendants and other defendants in this matter filed a

motion to dismiss Plaintiff’s Amended Complaint pursuant to Fed. R. Civ. P. 12(b)(5) for

insufficient service of process. (Dkt. 13). On April 21, 2021, the Court granted Subject Defendants’

motion to dismiss without prejudice and afforded Plaintiffs 21 days to amend their Complaint and

90 days thereafter to serve the defendants in this action. (Dkt. 29).

         On May 3, the Court granted Plaintiffs’ oral motion for an extension of time to amend their

complaint until June 21, 2021 (Dkt. 30) and, after Plaintiffs filed their Amended Complaint, on

June 23, 2021, the Court granted Plaintiffs additional time to serve the defendants until September

22, 2021. (Dkt. 35)

         As of the date of this Motion, none of the Subject Defendants have been served with a copy

of the summons and currently pending Complaint despite the clear requirements of Federal Rule

of Civil Procedure 4(m) and this Court’s Order of June 23, 2021 requiring Plaintiffs to serve

defendants by September 22, 2021.

         Based upon Plaintiffs’ failure to follow the basic requirements of Federal Rule of Civil

Procedure 4(m) and their disregard of this Court’s order of June 23, 2021, Plaintiffs’ Second

Amended Complaint should be dismissed with prejudice as to all defendants including, but not

limited to, the Subject Defendants.

   II.      The Applicable Standard

         Under Rule 12(b)(5), plaintiffs bear the burden of demonstrating the court’s jurisdiction

over the defendants through effective service. Cardenas v. City of Chicago, 646 F.3d 1001, 1005



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(7th Cir. 2011); Homer v. Jones-Bey, 415 F.3d 748, 754 (7th Cir. 2005). If the Court finds

plaintiffs have not met that burden and lack good cause for not perfecting service, then the court

must dismiss the suit or specify a time within which the plaintiffs must serve the defendants.

Manzanales v. Krishma, 113 F.Supp.3d 972, 975 (N.D. Ill. 2015).

           In this matter, the Court has already afforded Plaintiffs additional time on multiple

occasions to serve the defendants and, in disregard of the Court’s order, the Subject Defendants

have not been served.

    III.      The Subject Defendants Should be Dismissed With Prejudice for Plaintiffs’

              Failure to Make Service and Failure to Adhere to Court Orders

           Federal Rule of Civil Procedure 4 explicitly places responsibility on the plaintiff to

properly and timely serve the defendant: “plaintiff is responsible for having the summons and

complaint served within the time allowed by Rule 4(m).” Fed. R. Civ. P. 4(c). Service upon

defendants is required within 90 days after the filing of the complaint unless an extension is

granted. Fed. R. Civ. P. 4(m). The Seventh Circuit has explained that proper service is required

“[f]or good reason: that’s what the rule says.” Tuke v. United States, 76 F.3d 155, 156-57 (7th Cir.

19996). Moreover, the timing requirement is to be strictly followed. “This does not mean to miss

the time by a little . . . is irrelevant; the rule establishes a bright line . . . even one day’s tardiness

can be fatal.” Id.

           In this matter, Plaintiffs’ failure extends far beyond a mere failure to serve which would

ordinarily result in a dismissal without prejudice. Here, Plaintiffs have explicitly violated this

Court’s Order to serve defendants on or before September 22, 2021, even after having received

multiple extensions from the Court. In such circumstances, dismissal with prejudice is warranted.

As noted by the Court in Funches v. IRS, 2010 U.S. Dist. LEXIS 138273, *2 (C.D. Ill. Nov. 22,



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2010) “once a plaintiff has gone beyond a failure to serve and has also failed to adhere to the orders

of the court, the situation may transform itself from a simple failure to obtain service to a failure

to prosecute the action. [In such circumstances] Rule 41(b) specifically grants a court authority

to dismiss with prejudice. Funches, at *2 citing O'Rourke Bros. Inc. v. Nesbitt Burns, Inc., 201

F.3d 948, 953 (7th Cir. 2000).

       Here, Plaintiffs have been afforded opportunity after opportunity to undertake the minimal

effort to properly serve the defendants. Plaintiffs have failed to take the minimal steps necessary

to prosecute their claim and, along the way, has flouted this Court’s orders to make service within

a specified time.

       It has been nearly a year since Plaintiffs’ lawsuit was filed and Plaintiffs have still not even

attempted to serve the defendants. In light of Plaintiffs’ failure and disregard for this Court’s

orders, Plaintiffs’ Second Amended Complaint should be dismissed with prejudice. This Court

and the parties have suffered enough of Plaintiffs’ foolishness and intentional disregard for the

rules and this Court’s rulings. The defendants have incurred substantial fees with no better idea

than they did more than a year ago about the nature of any claims Plaintiffs could possess.

Meanwhile, Plaintiffs’ spurious accusations have been public record and, because no service has

occurred, defendants have been left without a voice. This matter must now come to an end.

       WHEREFORE, for the reasons as stated herein, the Subject Defendants respectfully

request this Honorable Court enter an Order dismissing Plaintiffs’ Second Amended Complaint

with prejudice for failure to serve and pursuant to Rule 41(b) for failure to prosecute and comply

with the rules and this Court’s orders.




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                                                      Respectfully submitted,

                                                      BLITCH WESTLEY BARRETTE, S.C.

                                                      /s/ Matthew P. Barrette________________
                                                      Attorney for the Subject Defendants

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                                 CERTIFICATE OF SERVICE

        I, Matthew P. Barrette, an attorney, hereby certify that I served this document on the parties
listed herein on September 28, 2021, via the Court’s electronic filing system and via electronic
mail, at the address(es) listed below.

                                                      /s/ Matthew P. Barrette


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